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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

ROLAND CARLY SAINTLOT
DOC# Y45056,

       Plaintiff,

vs.                                       Case No. 3:18-cv-441-MCR-EMT

WHITEHEAD, ET AL.,

     Defendants.
________________________________________/

          DEFENDANTS’ PRETRIAL NARRATIVE, EXHIBIT AND
                         WITNESS LISTS

                    DEFENDANTS’ PRETRIAL NARRATIVE

       On November 10, 2016, Plaintiff was housed in cell Q2116S at Santa Rosa

Correctional Institution, Annex. At approximately 2:08 PM, Plaintiff was found

lying on the floor near his cell door. Plaintiff appeared immobile and unresponsive.

Based on Plaintiff’s behavior, Defendants attempted to gain a response from

Plaintiff, without any success. Plaintiff did not respond to any requests for a

response.

       Based on Plaintiff’s behavior, the shift supervisor was contacted, who

indicated that a life-safety check would be necessary to determine Plaintiff’s

wellbeing. A life-safety check is an entry into a cell to determine whether an inmate

needs medical attention or is in distress after an inmate is unresponsive to orders.
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Based on Plaintiff’s actions, Defendant Whitehead then obtained a non-electric,

concave Plexiglass shield and obtained assistance from additional officers. The

officers who arrived at cell front were Robert Putnam, James McClain, Richard

Kerns, Christopher Whitehead, Lee Peacock, and Raymond Konzelman. Once the

additional officers arrived, the officers entered the cell, with Defendant Whitehead

entering first behind the shield.

      Upon entry into the cell, Plaintiff stood up, and attempted to strike Defendant

Whitehead with a close fist multiple times, striking the shield each time. Based on

Plaintiff’s behavior, Defendant Whitehead utilized the shield to pin Plaintiff to the

floor of the cell. Even though Plaintiff was pinned to the floor, he continued to resist

and made it difficult to apply restraints. Both Defendant Whitehead and Officer

Putnam forced Plaintiff to a prone position on the floor, forced his hands behind his

back, and applied wrist restraints. Meanwhile, Defendant Johnson and Officer

McClain pinned Plaintiff’s legs to the floor and applied leg restraints. Once the

restraints were applied, Plaintiff ceased his combative behavior.

      After the use of force was completed, Plaintiff was escorted to the Q-

Dormitory medical triage room to receive a post use of force examination. Plaintiff’s

medical records stemming directly from the incident demonstrate that he had some

bleeding from his bottom lip, his left eye was red and swollen, and his left knuckles

were red with minor abrasions at the time of the medical assessment immediately


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after the incident. After Plaintiff’s medical examination was completed, Plaintiff was

placed back into his cell, and no further actions were taken.

      After the use of force concluded, Defendant Whitehead created and completed

a Use of Force Report (Log # 16-20611) describing the events that occurred with

Plaintiff. Each of the Defendants and the other involved individuals submitted

statements based on their actions during the use of force. Based on a review of the

use of force, both the facility and the Inspector General’s Office determined that the

officers’ actions were appropriate based on the governing Rules and Procedures.

      Defendant Whitehead also created and issued a Disciplinary Report (Log #

135-161993) based on Plaintiff’s actions in trying to strike him and his fellow

officers. Plaintiff was charged with Battery on a Corrections Officer, and he was

later convicted of the Disciplinary Report. Plaintiff was placed on Disciplinary

Confinement for a period of forty (40) days as a result of the Disciplinary Report.

      Plaintiff’s medical records do not support his allegations. The earliest Plaintiff

complains about his wrist or teeth being linked to the November 10, 2016 incident

is in a medical record dated January 29, 2018 – over a year later. The earliest Plaintiff

complains about the issue with his hand was on a medical record dated January 5,

2017. Plaintiff again complained about his wrist on February 4, 2018 and February

6, 2018. Plaintiff again complained of an injury to his wrist on February 25, 2018,

and he indicated the injury “start last week Monday – till now.” Plaintiff later


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complained about his wrist on November 29, 2018, December 20, 2018, and January

8, 2019, and made no further compliant about his wrist. The earliest medical record

related to Plaintiff’s teeth is dated May 8, 2017, where Plaintiff complains about

pain in his teeth. Plaintiff later complained about his teeth again on May 9, 2017 but

stated that it started the previous week. Plaintiff then later complained about

allegedly chipping his teeth but makes no mention of the November 10, 2016

incident during the complaint. No further complaints were made about Plaintiff’s

teeth.

                        DEFENDANTS’ WITNESS LIST

   1. Ronald Saintlot (Plaintiff)

   2. Christopher Whitehead (Defendant)
        a. Address: Through counsel.
        b. Anticipated Testimony: The events of November 10, 2016 surrounding
            the use of force and related prison administrative actions.

   3. Lee Peacock III (Defendant)
         a. Address: Through counsel.
         b. Anticipated Testimony: The events of November 10, 2016 surrounding
            the use of force and related prison administrative actions.

   4. Jonathan Johnson (Defendant)
         a. Address: Through counsel.
         b. Anticipated Testimony: The events of November 10, 2016 surrounding
            the use of force and related prison administrative actions.

   5. Raymond Konzelman (Defendant)
        a. Address: Through counsel.
        b. Anticipated Testimony: The events of November 10, 2016 surrounding
           the use of force and related prison administrative actions.


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6. Robert Putnam (Defendant)
     a. Address: Through counsel.
     b. Anticipated Testimony: The events of November 10, 2016 surrounding
        the use of force and related prison administrative actions.

7. James McClain (Defendant)
      a. Address: Through counsel.
      b. Anticipated Testimony: The events of November 10, 2016 surrounding
         the use of force and related prison administrative actions.

8. Richard Kerns (Defendant)
      a. Address: Through counsel.
      b. Anticipated Testimony: The events of November 10, 2016 surrounding
         the use of force and related prison administrative actions.

9. R.F. Caldwell (Witness):
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: The administrative disciplinary proceeding
         stemming from the incident on November 10, 2016.

10. A.R. Parrott (Witness):
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: The administrative disciplinary proceeding
         stemming from the incident on November 10, 2016.

11. Janine Cannon (Witness):
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: The use of force on November 10, 2016; the
         administrative disciplinary proceeding stemming from the incident on
         November 10, 2016.

12. H.A. Melanson (Witness):
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: The administrative disciplinary proceeding
         stemming from the incident on November 10, 2016.


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13.Inspector Ryan Muse (Witness):
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: The administrative review and investigation
         into the use of force on November 10, 2016.

14. Kraig Carter (Witness):
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: The administrative review and investigation
         into the use of force on November 10, 2016.

15. James Coker (Witness):
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: The administrative review and investigation
         into the use of force on November 10, 2016.

16. Nurse N. Pearce
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: Medical review of Plaintiff on November 10,
         2016 and in aftermath, as well as medical records.

17. Dr. Rummel
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: Medical treatment of Plaintiff on November
         10, 2016 and in aftermath, as well as medical records.

18. Robert Olson
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: Retention of video record of November 10,
         2016 incident and chain of custody.

19. A. Mendez, RN
      a. Address: Florida State Prison, 23916 NW 83rd Avenue, Raiford, Florida
         32026


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      b. Anticipated Testimony: Subsequent medical records following incident
         of November 10, 2016.

20. K. Burgin, LPN
      a. Address: Florida State Prison, 23916 NW 83rd Avenue, Raiford, Florida
         32026
      b. Anticipated Testimony: Subsequent medical records following incident
         of November 10, 2016.

21. J. Kort, Ph.D.
       a. Address: Florida State Prison, 23916 NW 83rd Avenue, Raiford, Florida
          32026
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

22. D. Stowers, RN
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
          Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

23. S. Rydzowski, LPN
       a. Address: Santa Rosa Correctional Institution, 5850 Milton Road,
          Milton, Florida 32583-7914
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

24. J. Barnhill
       a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
          Road, Milton, Florida 32583-7914
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

25. R. Calnaido
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: Subsequent medical records following incident
         of November 10, 2016.



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26. D. McArthur, PLN
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: Subsequent medical records following incident
         of November 10, 2016.

27. L. Moore, RN
       a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
          Road, Milton, Florida 32583-7914
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

28. L. Hiestand, ARNP
       a. Address: Union Correctional Institution, 25636 NE SR-16, Raiford,
          Florida 32026
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

29. J. Parker, LPN
       a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
          Road, Milton, Florida 32583-7914
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

30. A. Reschman, LPN
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: Subsequent medical records following incident
         of November 10, 2016.

31. A.D. Alvarez, DMD
      a. Address: Santa Rosa Correctional Institution, 5850 Milton Road,
         Milton, Florida 32583-7914
      b. Anticipated Testimony: Subsequent medical records following incident
         of November 10, 2016.

32. O. Girardeau, DDS
      a. Address: Florida State Prison, 23916 NW 83rd Avenue, Raiford, Florida
         32026


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      b. Anticipated Testimony: Subsequent medical records following incident
         of November 10, 2016.

33. T. Camm
       a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
          Road, Milton, Florida 32583-7914
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

34. N. Allgood
      a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
         Road, Milton, Florida 32583-7914
      b. Anticipated Testimony: Subsequent medical records following incident
         of November 10, 2016.

35. J. Nims
       a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
          Road, Milton, Florida 32583-7914
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

36. T. Clingerman
       a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
          Road, Milton, Florida 32583-7914
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

37. J. Aycock, RDH
       a. Address: Santa Rosa Correctional Institution Annex, 5850 Milton
          Road, Milton, Florida 32583-7914
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016.

38. A. Johns
      a. Address: Union Correctional Institution, 25636 NE SR-16, Raiford,
         Florida 32026
      b. Anticipated Testimony: Subsequent medical records following incident
         of November 10, 2016.



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39. J. Martin
       a. Address: Union Correctional Institution, 25636 NE SR-16, Raiford,
          Florida 32026
       b. Anticipated Testimony: Subsequent medical records following incident
          of November 10, 2016
40. Kellie Caswell, RN, BSN
       a. Address: 501 South Calhoun Street, Tallahassee, Florida 32399-2500
       b. Anticipated Testimony: Plaintiff’s medical records.

41. A designee from Florida Department of Corrections Dental Department, TBD
      a. Anticipated Testimony: Plaintiff’s dental records.

42.Any witness listed by Plaintiff (subject to any objection by Defendants).


                      DEFENDANTS’ EXHIBIT LIST

1. Plaintiff’s Deposition taken on March 22, 2019.

2. Plaintiff’s grievances related to this case.

3. Any Declaration or statement offered by any of Plaintiff’s witnesses.

4. Plaintiff’s Medical Records, including Mental Health and Dental Records.

5. Video Footage from November 16, 2010.

6. Plaintiff’s Disciplinary Report history.

7. Disciplinary Report Log # 135-161993.

8. FDOC records of Plaintiff’s internal movements.

9. FDOC Use of Force Packet and Report # 16-20611.

10.MINS Report # 737883.

11.FDOC Chain of Custody documents for video.

12.Defendants’ Declarations filed in support of their Motion for Summary
   Judgment.

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   13.Certified copy of Plaintiff’s convictions.

   14.Certified copy of convictions for any witnesses called by Plaintiff.

   15. Inmate files, including movement records for any inmate witnesses called by
      Plaintiff.

   16. § 33-602.210, Fla. Admin. Code and all prior version of the Administrative
      Regulation.

   17. Plaintiff’s call audio and kiosk and/or tablet messages while in custody.

   18.Any evidence presented by Plaintiff (subject to any objection by Defendants).

                                       Respectfully Submitted,
                                       ASHLEY MOODY
                                       ATTORNEY GENERAL
                                       /s/ Kristen J. Lonergan
                                       Kristen J. Lonergan
                                       Assistant Attorney General
                                       Florida Bar No.: 125556
                                       Office of the Attorney General
                                       The Capitol PL-01
                                       Tallahassee, Florida 32399-1050
                                       Telephone: (850) 414-3300
                                       Facsimile: (850) 488-4872
                                       Kristen.Lonergan@myfloridalegal.com

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was e-

filed electronically through CM/ECF on March 29, 2021, and furnished by U.S. Mail

to: Roland Saintlot, DOC# Y45056, Santa Rosa Correctional Institution, 5850 East

Milton Rd., Milton, Florida 32583-7914 on this March 29, 2021.

                                       /s/ Kristen J. Lonergan
                                       Kristen J. Lonergan

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